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SK/FJN/ADW/EMR
F. #2015R00471 / OCDETF #NY-NYE-777

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                       15-CR-208 (S-3) (FB)

       - against -

ISMAEL QUINTERO ARELLANES,
  also known as “Fierro,”

                       Defendant.

----------------------------------X




                     THE GOVERNMENT'S DETENTION MEMORANDUM




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                                PRELIMINARY STATEMENT

               The government respectfully submits this memorandum in support of its

application for a permanent order of detention for the defendant Ismael Quintero Arellanes, also

known as “Fierro,” a senior member of the Caro Quintero DTO, a violent drug trafficking

organization based in Mexico and led by Rafael Caro Quintero. The defendant was arrested by

Mexican authorities on January 29, 2020. He was extradited from Mexico to the United States on

March 1, 2023 and is scheduled to appear before the Court tomorrow for an arraignment on the

Third Superseding Indictment (the “S-3 Indictment”) in this case. For the reasons set forth below,

at his arraignment, the Court should enter a permanent order of detention, as no condition or

combination of conditions can assure the safety of the community or the defendant’s appearance

at trial.




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                                    STATEMENT OF FACTS

I.       The Caro Quintero DTO1

               From at least January 1980 until June 2018, Rafael Caro Quintero led a sprawling

and powerful international drug trafficking organization based in Mexico (the “Caro Quintero

DTO”). The Caro Quintero DTO operated a vast narcotics transportation network responsible for

the manufacture and importation from Mexico into the United States of multi-ton quantities of

heroin, cocaine, methamphetamine, and marijuana. The vast majority of drugs trafficked by the

Caro Quintero DTO were imported into the United States, where the drugs were consumed. The

Caro Quintero DTO also employed firearms to further its drug trafficking activities, including to

plan and carry out numerous murders in Mexico.

               In 1985, Rafael Caro Quintero was arrested and convicted in Mexico on charges

relating to the murders of four people. Despite his imprisonment, Caro Quintero continued to

direct the activities of the Caro Quintero DTO by giving orders to family members and associates.

In 2013, a Mexico state court ordered Caro Quintero’s release from prison, though a Mexican

federal court issued a new arrest warrant just days after Caro Quintero’s release. After his release,

Caro Quintero immediately went into hiding and continued to personally lead the Caro Quintero

DTO. On July 15, 2022, Caro Quintero was recaptured by Mexican authorities.




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           As permitted by the Second Circuit, the government proceeds by factual proffer in
support of its motion for a permanent order of detention. See United States v. LaFontaine, 210
F.3d 125, 130–31 (2d Cir. 2000); United States v. Ferranti, 66 F. 3d 540, 542 (2d Cir. 1995). As
this proffer seeks only to articulate facts sufficient to justify detention, it is not a complete
statement of all the evidence of which the government is aware or which it will seek to introduce
at trial.

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II.    Quintero Arellanes’ Membership in the Caro Quintero DTO

              Quintero Arellanes was a high-ranking lieutenant within the Caro Quintero DTO

and served as Rafael Caro Quintero’s personal head of security. Indeed, after Caro Quintero’s

release from prison in 2013, the defendant and other members of the Caro Quintero DTO went to

great lengths to protect Caro Quintero from being recaptured. For example, the defendant

frequently acted as an intermediary for Caro Quintero by relaying messages and orders to other

members of the Caro Quintero DTO via an electronic messaging program. This arrangement

reflected concern within the Caro Quintero DTO that Caro Quintero’s direct use of telephones or

messaging applications would expose him to law enforcement detection.

              The defendant’s electronic messages also show that the defendant was responsible

for detecting possible efforts by Mexican authorities to capture Caro Quintero and warning other

members of the Caro Quintero DTO accordingly. For instance, on February 21, 2015, agents

lawfully intercepted communications during which the defendant directed another member of the

DTO to warn Caro Quintero that the military was preparing to conduct a raid to capture Caro

Quintero. In another instance, on or about June 14, 2015, another member of the DTO wrote to

the defendant, stating that they had to move Caro Quintero and indicated that it was important to

keep secret any information about Caro Quintero.

              Furthermore, the defendant was directly involved in trafficking large quantities of

controlled substances on behalf of the Caro Quintero DTO. For example, on February 25, 2015,

agents lawfully intercepted communications during which an associate of the Caro Quintero DTO

asked the defendant how much it would cost to move 500 kilograms of narcotics and whether he

could obtain Caro Quintero’s permission to move the drugs through Puerto Penasco, a city located

in the Mexican state of Sonora. The defendant later responded by giving permission to transport



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the drugs through Puerto Penasco and indicating that he would obtain Caro Quintero’s permission

to invest in the drug load. In another example, on February 6, 2016, the defendant exchanged

messages with another member of the Caro Quintero DTO, giving instructions on quantities and

timing of drug deliveries. The defendant indicated that he was receiving instructions directly from

Caro Quintero, writing “that’s what the old man said.”

               Finally, evidence gathered through this investigation also showed that the

defendant and others possessed firearms to further their drug trafficking activities. For instance,

on February 25, 2016, agents lawfully intercepted communications between the defendant and

another member of the Caro Quintero DTO. During that communication, the defendant wrote that

he was purchasing two firearms that were like the “cop killers” and that one could fit 30 bullets in

each magazine. One or more witnesses have also personally observed the defendant carrying

firearms, including an assault rifle in one instance while traveling in an armed convoy that was

safeguarding Caro Quintero as he traveled through the mountains of Sinaloa.

               The evidence in this case includes, among other things, lawfully intercepted

communications, witness testimony, seizures of drugs, and photographs.

III.   Foreign Authorities’ Arrest and Extradition of Quintero Arellanes

               On July 26, 2018, a grand jury sitting in the Eastern District of New York returned

the S-3 Indictment. Counts Two and Three charge the defendant with conspiring to distribute

cocaine, heroin, methamphetamine, and marijuana, knowing and having reasonable cause to

believe that those drugs would be unlawfully imported into the United States, in violation of Title

21, United States Code, Sections 959(a), 959(d), 960(a)(3), 960(b)(1)(A), 960(b)(1)(B)(ii),

960(b)(1)(G), 960(b)(1)(H) and 963. Count Four charges the defendant with the use of firearms

in furtherance of his drug trafficking crimes, in violation of Title 18, United States Code, Sections



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924(c)(1)(A)(i), 924(c)(1)(A)(ii) and 924(c)(1)(A)(iii). Each of Counts Two, Three, and Four

carries a statutory maximum of life imprisonment and a mandatory minimum of 10 years’

imprisonment.

                On January 29, 2020, Mexican law enforcement authorities arrested the defendant

in Mexico. Following extradition proceedings based on the S-3 Indictment, the defendant was

extradited from Mexico and arrived in the Eastern District of New York on March 1, 2023.

                                          ARGUMENT

I.       Legal Standards

                Under the Bail Reform Act, 18 U.S.C. §§ 3141 et seq., a federal court must order a

defendant detained pending trial where it determines that “no condition or combination of

conditions would reasonably assure the appearance of the person as required and the safety of any

other person and the community[.]” 18 U.S.C. § 3142(e). A presumption of dangerousness and

risk of flight arises when a defendant is charged with an offense under the Controlled Substances

Act or the Controlled Substances Import and Export Act that carries a maximum term of

imprisonment of 10 years or more and the Court finds probable cause to believe that the defendant

committed such offense. 18 U.S.C. § 3142(e)(3)(A). Probable cause may be established by the

sheer fact that a grand jury has returned an indictment charging the defendant with the offense in

question. See United States v. Contreras, 776 F.2d 51, 54–55 (2d Cir. 1985).

                The presumption means that the Court must initially assume there is “no condition

or combination of conditions that will reasonably assure the appearance of the person as required

and the safety of the community.” 18 U.S.C. § 3124(e)(3). The defendant may rebut this

presumption by coming “forward with evidence that he does not pose a danger to the community

or a risk of flight.” United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001) (per curiam). If



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this burden of production is satisfied, the government retains the burden of persuasion by clear and

convincing evidence that the defendant presents a danger to the community and by a

preponderance of the evidence that the defendant presents a risk of flight. See 18 U.S.C. § 3142(f);

Mercedes, 254 F.3d at 436; United States v. Jackson, 823 F.2d 4, 5 (2d Cir. 1987); United States

v. Chimurenga, 760 F.2d 400, 405 (2d Cir. 1985).

               The concept of “dangerousness” encompasses not only the effect of a defendant’s

release on the safety of identifiable individuals, such as witnesses, but also “‘the danger that the

defendant might engage in criminal activity to the detriment of the community.’” United States v.

Millan, 4 F.3d 1038, 1048 (2d Cir. 1993) (quoting legislative history).                Indeed—and

significantly—danger to the community includes “the harm to society caused by [the likelihood of

continued] narcotics trafficking.” United States v. Leon, 766 F.2d 77, 81 (2d Cir. 1985). In

considering risk of flight, courts have found that where the evidence of guilt is strong, it provides

“a considerable incentive to flee,” United States v. Millan, 4 F.3d 1038, 1046 (2d Cir. 1993), as

does the possibility of a severe sentence, see Jackson, 823 F.2d at 7; United States v. Martir, 782

F.2d 1141, 1147 (2d Cir. 1986) (defendants charged with serious offenses with significant

maximum terms had potent incentives to flee); see also United States v. Cisneros, 328 F.3d 610,

618 (10th Cir. 2003) (defendant was flight risk because her knowledge of seriousness of charges

against her gave her strong incentive to abscond to Mexico).

               Courts consider several factors in making the determination of whether pretrial

detention is appropriate: (1) the nature and circumstances of the crime charged; (2) the weight of

the evidence against the defendant; (3) the history and characteristics of the defendant, including

family ties, employment, financial resources, community ties, and past conduct; and (4) the nature

and seriousness of the danger to any person or the community that would be posed by release. See



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18 U.S.C. § 3142(g). Even where the defendant has met his burden of production to rebut the

statutory presumption in favor of detention, the presumption also remains a factor for the Court to

consider. Mercedes, 254 F.3d at 436.

II.    A Presumption of Detention Applies

               This case involves offenses for which there is a presumption that no condition or

combination of conditions will reasonably assure the defendant’s appearance or the safety of the

community. See 18 U.S.C. § 3142(e)(3). Specifically, because the defendant is charged with

multiple counts under the Controlled Substances Import and Export Act for which the maximum

term of imprisonment is life, he is presumed to pose a danger to the community and a risk of flight.

Accordingly, the defendant bears the initial burden of showing that he is not a danger to the

community or a flight risk. For the reasons set forth below, the defendant cannot sustain that

burden.

III.   Quintero Arellanes Is a Danger to the Community

               The facts and circumstances of this case compel the defendant’s detention, as the

relevant Bail Reform Act factors show that he poses a danger to the community.

               The counts with which the defendant is charged—participating in an international

narcotics importation and distribution conspiracy and carrying firearms in furtherance of that

conspiracy—are extremely serious and each carry a 10-year mandatory minimum prison sentence.

See 21 U.S.C. §§ 960(b)(1)(A), 960(b)(1)(B)(ii), 960(b)(1)(G) and 960(b)(1)(H); 18 U.S.C. §

924(c). As Rafael Caro Quintero’s personal head of security, the defendant regularly carried

firearms to protect Caro Quintero and his drug trafficking activities. The nature of this criminal

conduct demonstrates that the defendant is a threat and danger to the people of the United States

who suffer from the flow of illicit drugs into their communities.



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IV.     Quintero Arellanes Poses a Significant Risk of Flight

                 Similarly, the defendant cannot overcome the presumption that he is a risk of

flight, for several reasons.

                 First, if convicted of any of Counts Two through Four, he faces a mandatory

minimum sentence of 10 years’ imprisonment. All of the counts carry a statutory maximum of

life imprisonment. Given the significant jail time that the defendant faces upon conviction, he has

a strong incentive to flee the jurisdiction. See Jackson, 823 F.2d at 7 (prospect of severe sentence

creates incentive to flee); Martir, 782 F.2d at 1147 (charges with significant maximum terms

created potent incentive to flee); Cisneros, 328 F.3d at 618 (seriousness of charges gave defendant

strong incentive to abscond).

                 Second, the defendant’s criminal conduct demonstrates prior familiarity with

flight from prosecution. One of the defendant’s primary responsibilities in the DTO was to ensure

that the DTO’s leader evaded law enforcement capture in Mexico, and the defendant carried out

those responsibilities successfully for years.

                 Third, the defendant’s personal history and characteristics demonstrate that he is

a significant flight risk. The defendant has no known personal ties to the United States and has

been brought to the United States for the sole purpose of facing criminal prosecution. He has no

legal status in this country. Given his absence of any connection to the United States (aside from

his drug trafficking activities) and his extensive ties to Mexico, the defendant constitutes a

significant risk of flight.




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                                         CONCLUSION

               For the foregoing reasons, the government respectfully requests that the Court order

the defendant to be detained permanently pending trial, as there is no condition or combination of

conditions that could reasonably assure the safety of the community or the defendant’s appearance

at trial.

Dated:         Brooklyn, New York
               March 1, 2023




                                                     Respectfully submitted,

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